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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

COLIN WHITTAKER, an individual,           )
                                          )
                                          )
            Plaintiff,                    ) Case No.:
                                          )
            v.                            ) COMPLAINT
                                          )
                                          )
RAS LAVRAR LLC, an Florida Limited ) JURY TRIAL DEMANDED
Liability Company; and CITIBANK           )
N.A., a banking institution chartered and )
                                          )
supervised by the U.S. Office of the      )
Comptroller of the Currency,              )
                                          )
            Defendants.                   )
                                          )

                                  COMPLAINT

      COMES NOW Colin Whittaker, Plaintiff, and states the following

Complaint against Defendant RAS LAVRAR LLC and Defendant CITIBANK

N.A. for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

seq., and breach of contract.

                          JURISDICTION AND VENUE

1.    This action arises out of Defendants’ illegal and improper efforts to collect a

      consumer debt, and includes violations of the Fair Debt Collection Practices

      Act (FDCPA), 15 U.S.C. §§ 1692 et seq. (the “FDCPA”), as well as breach

      of a settlement agreement; and Plaintiff’s claims under the FDCPA statute


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     and for breach of contract are so related that they form the same case or

     controversy.

2.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (Federal

     Question), 15 U.S.C. § 1692k, 15 U.S.C. §§ 1681 et seq., and 28 U.S.C. §§

     1331 & 1337, as well as 28 U.S.C. § 1367 (Supplemental Jurisdiction).

3.   This Court has personal jurisdiction over the Defendants for the purposes of

     this action because Defendant RAS LAVRAR LLC regularly attempts to

     collect debts from residents of Georgia in the State of Georgia, Defendant

     RAS LAVRAR LLC has a registered agent located in the State of Georgia,

     Defendant CITIBANK N.A. regularly enters into agreements with Georgia

     residents within the State of Georgia, Plaintiff is a resident of the State of

     Georgia, and the committed acts that form the basis for this suit occurred

     within the State of Georgia and this District.

4.   Venue is proper in the Northern District of Georgia pursuant to 28 U.S.C. §

     1391 because Defendant RAS LAVRAR LLC has a registered agent located

     within this District, Plaintiff is a resident of this District, and the contract at

     issue in this lawsuit has a venue selection clause that identifies this District

     as the proper venue for this action.




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                                    PARTIES

5.   COLIN WHITTAKER is a resident of Georgia, and was so at all times

     relevant to this action, and is a consumer under 15 U.S.C. § 1692a(3).

6.   RAS LAVRAR LLC (“RAS LAVRAR”) is a Florida Limited Liability

     Company with a registered agent in Georgia named Vcorp Agent Services,

     Inc. and located at 289 S Culver Street, Lawrenceville, GA, 30046, in

     Gwinnett County, Georgia.

7.   CITIBANK N.A. (“CITIBANK”) is a banking institution chartered and

     supervised by the U.S. Office of the Comptroller of the Currency, Charter

     No. 1461, with an address of 5800 S. Corporate Place, Sioux Falls, SD

     57108. Defendant Citibank N.A. may be served with this Complaint at this

     address.

                          FACTUAL ALLEGATIONS

8.   COLIN WHITTAKER is a natural person, and is not a corporation, limited

     liability company, or other legal entity.

9.   RAS LAVRAR is a sophisticated and experienced debt collection law firm

     that regular files and litigates lawsuits against consumers in order to collect

     debts owed or alleged to be owed to their clients, such as Citibank N.A.




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10.   In DeKalb County alone, RAS LAVRAR filed more than 200 lawsuits in

      2020 against consumers on behalf of their clients, including Citibank N.A.,

      in attempts to collect debts from those consumers.1

11.   In short, Defendant RAS LAVRAR is a debt collector.

12.   Defendant RAS LAVRAR regularly attempts to collect, directly or

      indirectly, debts owed or due or asserted to be owed or due another using the

      instrumentalities of interstate commerce, including the mails and the

      interstate telephone system.

13.   Citibank N.A. is the U.S.-based consumer finance and deposit arm of the

      large global financial institution Citigroup Inc and is sophisticated and

      experienced in using litigation against consumers to try and collect debts it

      claims those consumers owe to it.

14.   On September 25, 2020, Mr. Whittaker sent a Georgia FBPA demand to

      Defendant CITIBANK seeking to resolve a dispute over its attempt, through
1
  See DeKalb County – Judicial Information System, available at
(https://ody.dekalbcountyga.gov/portal/). Once there, choose “Smart Search.”
Then select “Advanced Filtering Options.” Under General Options choose “Filter
by Search Type” and slect “Attorney Name.” Then enter the name of RAS
LavRar’s attorney in the lawsuit against Mr. Whittaker—Martin Marshall in the
field above. Then scroll to the bottom and under Case Search Criteria select a
“Filter by File Date Start” and “Filter by File Date End” of “01/01/2020” and
“12/02/2020” respectively. Then select “Submit.” The “Party Search Results”
should show a red warning that “The search returned 200 cases . . . but could have
returned more.”

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      Defendant RAS LAVRAR, to collect an alleged debt (the “Alleged Debt”)

      from him in Fulton County State Court (the “Fulton State Case”).

15.   On December 9, 2020, Mr. Whittaker filed a claim with the American

      Arbitration Association (“AAA”) against Defendants RAS LAVRAR and

      CITIBANK for their violations of the FDCPA and Georgia’s FBPA based

      on their attempts to collect the Alleged Debt in the Fulton State Case.

16.   On January 26, 2021, Defendants filed a collection lawsuit seeking to collect

      the Alleged Debt from Mr. Whittaker in Clayton County State Court (the

      “Clayton State Case”).

17.   Upon information and belief, one or more of the Defendants had actual

      knowledge of the filing of the arbitration demand with AAA at the time the

      Clayton State Case was filed.

18.   Plaintiff and Defendants settled the arbitration claims, and executed a

      Settlement and Release Agreement dated July 9, 2021.

19.   A copy of the Settlement and Release Agreement is attached as Exhibit 1 to

      this Complaint.

20.   Citibank N.A. released any claims it had against Plaintiff on the Alleged

      Debt through the Settlement and Release Agreement.




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21.   Citibank, and its attorneys at RAS LAVRAR, agreed to dismiss the Clayton

      State Case with prejudice.

22.   Citibank failed to follow through with its dismissal.

23.   Instead, on June 16, 2022—more than eleven (11) months later—Citibank,

      through its collection attorneys RAS LAVRAR, filed a motion for default

      judgment in the Clayton State Case.

24.   This is despite Citibank’s attorneys at RAS LAVRAR stating to Plaintiff’s

      legal counsel that he was not required to answer the Clayton State Lawsuit.

25.   This is despite Citibank releasing its claims on the Alleged Debt in the

      Settlement and Release Agreement.

26.   This is despite Citibank agreeing to dismiss the Clayton State Case with

      prejudice.

27.   Defendant RAS LAVRAR sent copies of this lawsuit directly to Mr.

      Whittaker despite knowing he was represented by attorneys regarding the

      Alleged Debt.

28.   Prior to the filing of the motion for default judgment, Plaintiff’s legal

      counsel reached out multiple times seeking to have the Clayton State

      Lawsuit dismissed with prejudice as agreed to in the Settlement and Release

      Agreement.


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29.   Citibank’s attorneys at RAS LAVRAR even stated they would review the

      matter and make sure everything is tended to on May 13, 2022.

30.   Citibank’s motion for default judgment contained materially false,

      misleading, or deceptive statements in an effort to obtain a judgment against

      Mr. Whittaker for the Alleged Debt despite Citibank having released it

      claims.

31.   The Clayton County State Court issued a judgment against Mr. Whittaker

      based on Citibank and RAS LAVRAR’s materially false, misleading, and

      deceptive statements.

32.   Plaintiff has reached out to CITIBANK through its attorneys at RAS

      LAVRAR to get the judgment set aside, but CITIBANK and RAS LAVRAR

      have refused to respond or act.

33.   Plaintiff has been forced to file a motion to set aside the judgment, and incur

      legal costs and expenses, as a direct result of CITIBANK and RAS

      LAVRAR’s false, misleading, and deceptive representations to the Clayton

      County State Court as part of their effort to get a default judgment.

34.   Plaintiff has incurred no less than $630.00 in legal fees and costs directly as

      a result of Defendants’ actions, and these fees and costs will only likely

      increase in amount.


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35.   Defendants’ actions in attempting to collect the Alleged Debt despite

      Citibank N.A. having released its claims on the Alleged Debt are unfair or

      unconscionable means of attempting to collect a debt.

36.   Defendants’ actions have breached the settlement agreement between the

      parties, and that breach has caused material damage and harm to Plaintiff.

37.   Defendants’ actions caused Plaintiff to suffer stress, anxiety, frustration,

      fear, and anger in the form of emotional distress.

38.   Plaintiff has sent a pre-suit ante-litem letter pursuant to Georgia’s Fair

      Business Practices Act, O.C.G.A. §§ 10-1-390 et seq., dated June 14, 2023,

      to Defendant CITIBANK, and will supplement his Complaint to include

      Citibank’s violations of Georgia’s FBPA, O.C.G.A. § 10-1-390 et seq. when

      those claims become ripe.

39.   Upon information and belief, Defendant CITIBANK is in competition with

      other banking, lending, and credit card issuers in the State of Georgia.

40.   The actions of Defendant CITIBANK in seeking to collect debts through

      litigation that have been released, or which CITIBANK otherwise no longer

      possesses a right to collect upon, from Georgia consumers impacts the

      consumer marketplace in the State of Georgia.




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41.   Defendant CITIBANK is subject to the provisions of Georgia’s Fair

      Business Practices Act, O.C.G.A. §§ 10-1-390 et seq.

42.   Georgia’s Fair Business Practices Act is intended to “protect consumers and

      legitimate business enterprises from unfair or deceptive practices in the

      conduct of any trade or commerce in part or wholly in the state” and is

      intended to be “liberally construed and applied to promote its underlying

      purposes and policies.” O.C.G.A. § 10-1-391(a).

43.   Georgia’s Fair Business Practices Act imposes a duty on all businesses and

      individuals to refrain from engaging in “[u]nfair or deceptive acts or

      practices in the conduct of consumer transactions and consumer acts or

      practices in trade or commerce.” O.C.G.A. § 10-1-393(a).

44.   Plaintiff’s injuries caused by Defendants’ violations of the FDCPA are

      particular and concrete in that they are legally cognizable injuries through

      the FDCPA, they have invaded Plaintiff’s legal rights, invaded his right to

      be free from attempts to collect debts he does not owe, invaded his right to

      be given accurate information about how much of a debt he does owe,

      invaded his right to be treated fairly and with conscious regard, and have

      resulted in Plaintiff suffering stress and anxiety, emotional distress, as well

      as valuable lost time and resources.


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                              CAUSES OF ACTION

                                     Count 1
               Violations of the Fair Debt Collection Practices Act

45.   Defendant RAS LAVRAR’s filing of a motion for default judgment despite

      its client, CITIBANK, having released its claims on the Alleged Debt more

      than eleven months prior to said filing violates the Fair Debt Collection

      Practices Act, 15 U.S.C. §§ 1692 et seq.

46.   Defendant RAS LAVRAR’s efforts to collect an amount from Mr. Whittaker

      not permitted by law or by contract violates the Fair Debt Collection

      Practices Act, 15 U.S.C. §§ 1692 et seq.

47.   Defendant RAS LAVRAR’s communication of an false, misleading, or

      deceptive information about the alleged debt to the Clayton County State

      Court as part of its efforts to collect the Alleged Debt violates the Fair Debt

      Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

48.   Defendant RAS LAVRAR’s efforts to collect a debt from Mr. Whittaker that

      he does not owe violates the Fair Debt Collection Practices Act, 15 U.S.C.

      §§ 1692 et seq.

49.   Defendant RAS LAVRAR’s direct communications with Mr. Whittaker

      despite its actual knowledge he was represented by legal counsel for the

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      Alleged Debt violates the Fair Debt Collection Practices Act, 15 U.S.C. §§

      1692 et seq.

50.   Defendant RAS LAVRAR’s use of unfair or unconscionable means in its

      attempt to collect the alleged debt—namely, by filing a motion for default

      judgment despite knowing its client CITIBANK had released its claims to

      the Alleged Debt—violates the Fair Debt Collection Practices Act, 15

      U.S.C. §§ 1692 et seq.

51.   As a direct result Defendant RAS LAVRAR’s actions in violation of the

      FDCPA, Mr. Whittaker suffered stress, anxiety, and emotional distress—

      otherwise known as garden-variety emotional distress—and suffered lost

      resources and valuable time in dealing with these collection efforts.

52.   As a direct result Defendants’ actions in violation of the FDCPA, Mr.

      Whittaker incurred legal costs and fees he would not have incurred but for

      Defendant RAS LAVRAR’s actions in violation of the FDCPA in an

      amount not less than $630.00, but that is likely to increase over time.

53.   Further, Defendant RAS LAVRAR’s violations of the FDCPA, 15 U.S.C. §§

      1692 et seq., make it liable to Mr. Whittaker for not just the actual damages

      identified above, but also for statutory damages of up to the maximum of




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      $1,000 for each Defendant, plus reasonable court costs and attorneys’ fees in

      accordance with the FDCPA, 15 U.S.C. § 1692k(a)(2)-(3).



                                    Count 2
        Violations by Defendants of Georgia’s Fair Business Practices Act


54.   Defendant CITIBANK’s efforts to collect a debt from Mr. Whittaker thati t

      had released, and to seek a judgment in a lawsuit it had agreed to dismiss

      with prejudice, as well as its false, misleading, or deceptive representations

      to the Clayton County State Court to obtain the default judgment, are unfair

      or deceptive acts or practices in the conduct of consumer transactions.

55.   Plaintiff relied on Defendant CITIBANK’s representations prior to and as

      part of the settlement agreement that it would no longer seek to collect the

      Alleged Debt, and this reliance has led to Mr. Whittaker incurring actual

      damages in the form of incurring legal fees and costs plus suffering stress,

      anxiety, and frustration over having to work to set aside the default judgment

      CITIBANK obtained through false and deceptive acts.

56.   As a result of Defendant CITIBANK’s unfair and deceptive acts or practices

      in the conduct of consumer transactions, Plaintiff suffered stress, anxiety,

      and emotional distress—otherwise known as garden-variety emotional


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      distress—plus legal fees and costs to set aside the default judgment

      CITIBANK improperly obtained in amount to be shown with more

      particularity at a later date, but not less than $630.00.

57.   Defendant CITIBANK competes within its respective consumer

      marketplaces with other companies who seek to engage in consumer

      transactions with Georgia residents, and CITIBANK’s actions in disregard

      to Georgia’s FBPA, O.C.G.A. §§ 10-1-390 et seq., impact the consumer

      marketplace by creating an unfair competitive disadvantage for those

      companies who do comply with Georgia’s FBPA, O.C.G.A. §§ 10-1-390 et

      seq.

58.   Upon information and belief, Defendant CITIBANK has practiced the same

      disregard for consumer rights visited upon Plaintiff by their acts complained

      of in this case with other consumers, and the consumer transactions that

      compose Plaintiff’s claims are therefore not private transactions, but instead

      impact the entirety of the consumer marketplace.

59.   Plaintiff shall amend his Complaint once the thirty (30) day ante-litem

      period ends if CITIBANK fails to resolve his Georgia FBPA claims as

      required by Georgia law, and reserves the rest of this Count for said

      amendment if necessary.


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                                    Count 3
                        Breach of Contract by Defendants


60.   Plaintiff and Defendants entered into a Settlement Agreement and Release

      that became fully executed on July 9, 2021, and a true and correct copy—

      except for redacted portions—is attached to this Complaint as Exhibit 1.

61.   Defendants agreed in this Settlement Agreement and Release to dismiss the

      Clayton State Case with prejudice within 15 days of the Agreement’s

      completion.

62.   Defendant CITIBANK released its claims against Mr. Whittaker over the

      Alleged Debt in the Settlement Agreement and Release.

63.   Nevertheless, Defendants failed to dismiss the Clayton State Case with

      prejudice, breaching the Settlement Agreement and Release.

64.   Defendant CITIBANK continued to try and collect the Alleged Debt from

      Mr. Whittaker, seeking and obtaining a default judgment in Clayton State

      Court for the Alleged Debt more than eleven months after executing the

      Settlement Agreement and Release.

65.   Defendants’ actions are not just in violation of the FDCPA and Georgia’s

      FBPA, but also constitute a breach of the Settlement Agreement and

      Release.


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66.   Mr. Whittaker has suffered damages as a result of Defendants’ breach of this

      agreement in an amount to be shown with more particularity at a later date,

      but that include the issuing of a judgment against him and the incurring of

      legal fees and costs to have said judgment set aside and the Clayton State

      Case dismissed with prejudice.



                                 JURY DEMAND

67.   Plaintiff demands a trial by jury.



      WHEREFORE, Plaintiff prays that this Court:

      (1)   Find Defendant RAS LAVRAR LLC liable for violations of the Fair
            Debt Collection Practices Act for the reasons stated in the Complaint
            above;

      (2)   Award Plaintiff the full $1,000 statutory damages for Defendant RAS
            LAVRAR LLC’s FDCPA violations;

      (3)   Award Plaintiff actual damages against Defendant RAS LAVRAR LLC
            in an amount to be shown with more particularity at a later date for
            Defendant RAS LAVRAR’s FDCPA violations;

      (4)   Find Defendants liable for breach of the Settlement Agreement and
            Release and the damages Plaintiff suffered as a result of that breach;

      (5)   Allow Plaintiff to amend this Complaint, if necessary, to include claims
            based on Defendant CITIBANK N.A.’s violations of Georgia’s FBPA,
            O.C.G.A. §§ 10-1-390 et seq., once the 30-day ante-litem period ends;


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(6)   Award Plaintiff reasonable attorney’s fees and costs against Defendants
      in accordance with the FDCPA 15 U.S.C. § 1692k(a)(2)-(3);

(7)   Award Plaintiff the reasonable costs of this action;

(8)   Award Plaintiff other reasonable expenses of litigation;

(9)   Grant Plaintiff such other and additional relief as the Court deems just
      and equitable.

Respectfully submitted this 16 June 2023.

                                    /s/ John William Nelson
                                    John William Nelson
                                    Georgia Bar No. 920108
                                    john@nelsonchambers.com
                                    Attorney for Plaintiff

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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local R. 7.1(D), this is to certify that the foregoing complies

with the font and point setting approved by the Court in Local R. 5.1(B). The

foregoing COMPLAINT was prepared on a computer, using Times New Roman

14-point font.

      DATED:      16 June 2023

                                     /s/ John William Nelson
                                     John William Nelson
                                     State Bar No. 920108

                                     Attorney for Plaintiffs

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